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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SEAN PATRICK MICCO,                                  Case No.18-cv-05513-SK
                                                        Plaintiff.
                                   8
                                                                                              ORDER GRANTING PLAINTIFF'S
                                                 v.                                           APPLICATION TO PROCEED IN
                                   9
                                                                                              FORMA PAUPERIS
                                  10     COMMISSIONER SOCIAL SECURITY,
                                                                                              Regarding Docket No. 2
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff has filed an Application to Proceed In Forma Pauperis. Having considered the

                                  14   application and complaint, the Court hereby GRANTS Plaintiff’s application. The Clerk of Court

                                  15   shall issue the summons. Furthermore, the U.S. Marshal for the Northern District of California

                                  16   shall serve, without prepayment of fees, a copy of the complaint, any amendments or attachments,

                                  17   Plaintiff's affidavit and this order upon Defendant.

                                  18          IT IS SO ORDERED.

                                  19   Dated: September 10, 2018

                                  20                                                    ______________________________________
                                                                                        SALLIE KIM
                                  21                                                    United States Magistrate Judge
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